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                                           8                                  UNITED STATES DISTRICT COURT
                                           9                                NORTHERN DISTRICT OF CALIFORNIA
                                          10                                           SAN JOSE DIVISION
For the Northern District of California




                                          11   KAHEAL PARRISH,                                     )     Case No.: 11-CV-01438-LHK
                                                                                                   )
    United States District Court




                                          12                Plaintiff,                             )
                                                       v.                                          )     NOTICE OF COURT’S SUMMARY
                                          13                                                       )     JUDGMENT RULINGS
                                               A. SOLIS, et al.,                                   )
                                          14                                                       )
                                                            Defendants.                            )
                                          15                                                       )
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                                          17          At the October 30, 2014 summary judgment hearing, the Court stated its tentative rulings.
                                          18   At the conclusion of the hearing, the Court stated that it would reconsider its tentative rulings in
                                          19   light of the parties' arguments. To facilitate the parties’ ongoing trial preparation, the parties
                                          20   requested notice of the Court’s final summary judgment rulings in advance of the Court’s issuance
                                          21   of the final summary judgment order. The Court agreed to provide such notice on November 3,
                                          22   2014. Accordingly, the Court hereby states that it will deny Defendants’ summary judgment
                                          23   motion in its entirety and will issue a final order shortly.
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                                          26   IT IS SO ORDERED.
                                          27   Dated: November 3, 2014                                 _______________________________
                                                                                                       LUCY H. KOH
                                          28                                                           United States District Judge
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                                               Case No.: 11-CV-01438-LHK
                                               NOTICE OF COURT’S SUMMARY JUDGMENT RULINGS
